                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 17-32995
         Samantha L Snowden

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 11/03/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 03/09/2018.

         6) Number of months from filing to last payment: 2.

         7) Number of months case was pending: 6.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $5,225.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Receipts:

       Total paid by or on behalf of the debtor                   $190.79
       Less amount refunded to debtor                               $0.00

NET RECEIPTS:                                                                                        $190.79


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $179.91
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                        $10.88
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $190.79

Attorney fees paid and disclosed by debtor:                     $0.00


Scheduled Creditors:
Creditor                                        Claim         Claim         Claim         Principal      Int.
Name                                 Class    Scheduled      Asserted      Allowed          Paid         Paid
ADVOCATE HEALTH CARE              Unsecured      1,326.00            NA              NA           0.00       0.00
ADVOCATE MEDICAL GROUP            Unsecured          85.00           NA              NA           0.00       0.00
AMERICASH                         Unsecured      1,623.00            NA              NA           0.00       0.00
AT&T                              Unsecured         448.00           NA              NA           0.00       0.00
CITY OF WAUKEGAN                  Unsecured      2,960.00            NA              NA           0.00       0.00
CITY OF WAUKEGAN                  Unsecured          50.00           NA              NA           0.00       0.00
CITY OF WAUKEGAN                  Unsecured      6,718.00            NA              NA           0.00       0.00
CITY OF WAUKEGAN                  Unsecured         780.00           NA              NA           0.00       0.00
COMMONWEALTH EDISON               Unsecured      1,109.00            NA              NA           0.00       0.00
CREDIT ACCEPTANCE                 Unsecured      7,732.00            NA              NA           0.00       0.00
EDUCATION DEPT OF ED/NAVIENT      Unsecured      4,968.00            NA              NA           0.00       0.00
EDUCATION DEPT OF ED/NAVIENT      Unsecured         583.00           NA              NA           0.00       0.00
DIRECTV                           Unsecured         911.00           NA              NA           0.00       0.00
EDUCATION DPT ED/SLM              Unsecured           0.00           NA              NA           0.00       0.00
LAKE COUNTY CIRCUIT COURT         Unsecured         965.00           NA              NA           0.00       0.00
EDUCATION NAVIENT SOLUTIONS IN    Unsecured          86.00           NA              NA           0.00       0.00
EDUCATION NAVIENT SOLUTIONS IN    Unsecured          34.00           NA              NA           0.00       0.00
NORTH SHORE GAS                   Unsecured         480.00           NA              NA           0.00       0.00
NORTH SHORE WATER RECLAMATIO      Unsecured         224.00           NA              NA           0.00       0.00
PEOPLES GAS                       Unsecured         116.00           NA              NA           0.00       0.00
SPRINT                            Unsecured         822.00           NA              NA           0.00       0.00
TITLE MAX                         Unsecured           0.00           NA              NA           0.00       0.00
EDUCATION US DEPT OF ED/GSL/ATL   Unsecured           0.00           NA              NA           0.00       0.00
VILLAGE OF GURNEE                 Unsecured      1,170.00            NA              NA           0.00       0.00
WAUKEGAN CLINIC CORP              Unsecured         206.00           NA              NA           0.00       0.00
WAUKEGAN LOAN MANAGEMENT          Unsecured         413.00           NA              NA           0.00       0.00



UST Form 101-13-FR-S (9/1/2009)
 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00               $0.00            $0.00


Disbursements:

         Expenses of Administration                               $190.79
         Disbursements to Creditors                                 $0.00

TOTAL DISBURSEMENTS :                                                                          $190.79


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/09/2018                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
